                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )       Case No. 3:11-00020
                                                )       Senior Judge Haynes
AUSTIN MICHAEL EVANS                            )

                   MOTION TO CONTINUE HEARING ON REPORT ON
                         OFFENDER UNDER SUPERVISION

        COMES NOW the Defendant, Austin Michael Evans, by and through his undersigned

counsel, and respectfully requests that this Honorable Court enter an Order continuing the

hearing on a Report on Offender Under Supervision from Monday, February 22, 2016 at 3:00

p.m., to a later date convenient to the Court and counsel. In support hereof, Defendant states as

follows:

        1.      On February 12, 2016, the Court entered an order setting a hearing on a Report on

Offender Under Supervision for Monday, February 22, 2016 at 3:00 p.m. (Docket Entry 154).

This is the first setting for a hearing in this supervision matter.

        2.      Undersigned counsel has an evidentiary hearing in State v. Wendy Askins, Putnam

County Criminal Action No. 13-0074, in Cookeville, Tennessee, today. The time for the hearing

in the Askins case has been moved to 10:30 a.m. Putnam County is located in the Thirteenth

Judicial District and the district operates on terms of court. This means that dockets in the

respective counties which comprise the district are particularly heavy when court is periodically

in session. Undersigned counsel is unable to predict if the hearing will begin promptly at 10:30

a.m. or will be moved to a time later in the day which will obviously conflict with the setting of

the Evans matter in this Court.


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       WHEREFORE, based on the foregoing, Defendant Austin Michael Evans respectfully

requests that this Honorable Court enter an Order continuing the hearing on a Report on Offender

Under Supervision from Monday, February 22, 2016 at 3:00 p.m., to a later date convenient to

the Court and counsel.

                                                      Respectfully submitted,

                                                      TUNE, ENTREKIN & WHITE, P.C.
                                                      UBS Tower, Suite 1700
                                                      315 Deaderick Street
                                                      Nashville, Tennessee 37238
                                                      (615) 244-2770

                                                      S:/ Peter Strianse
                                                      PETER J. STRIANSE
                                                      Attorney for Defendant Evans



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent via the Court’s
electronic filing system unless not registered and, in that event deposited in the United States
mail, postage prepaid, to:

                              Philip H. Wehby
                              Assistant United States Attorneys
                              110 Ninth Avenue South
                              Suite A961
                              Nashville, TN 37203-3870

                              Via email
                              Amanda Michele
                              U.S. Probation Officer

       this 22nd day of February, 2016.

                                                      S:/ Peter J. Strianse
                                                      PETER J. STRIANSE




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